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                                                                          CLERK U.S. BANKRUPTCY COURT
 6                                                                        Central District of California
     Attorneys for Thomas Felton                                          BY Ogier      DEPUTY CLERK

 7
 8                                UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                  SAN FERNANDO VALLEY DIVISION

11        In re:                                         Case No. 1:17-bk-12408-MB
12
          ICPW Liquidation Corporation, a California     Jointly Administered with:
13        corporation,1                                  1:17-bk-12409-MB

14                 Debtor and Debtor in Possession.      Chapter 11

15                                                       ORDER GRANTING JOINT
          In re:                                         STIPULATION RELATING TO
16
                                                         DIRECTORS & OFFICERS INSURANCE
17        ICPW Liquidation Corporation, a Nevada         POLICIES (THOMAS FELTON)
          corporation,2
18
                   Debtor and Debtor in Possession.
19
20
          Affects both Debtors
21
          Affects ICPW Liquidation Corporation, a
22         California corporation only
23
           Affects ICPW Liquidation Corporation, a
24          Nevada corporation only

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27
     1
         Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28   2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


         ORDER ON STIPULATION RELATING TO DIRECTORS & OFFICERS INSURANCE POLICIES
     DAL 80767362v1
     Case 1:17-bk-12408-MB          Doc 588 Filed 07/31/18 Entered 07/31/18 15:42:23                Desc
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 1           The Court, having read and considered the Joint Stipulation Relating to Directors & Officers
 2 Insurance Policies (Thomas Felton) [Docket No. 587] (the “Stipulation”)3 entered into, through counsel,
 3 by and between Thomas Felton, on the one hand, and ICPW Liquidation Corporation, a California
 4 corporation formerly known as Ironclad Performance Wear Corporation, a California corporation, and
 5 ICPW Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear
 6 Corporation, a Nevada corporation, and ICPW Nevada Trust, on the other hand, and for good cause

 7 appearing, it is ORDERED:
 8           1.       The Stipulation is GRANTED;
 9           2.       D&O Policy Reimbursement. Mr. Felton shall be permitted to use the proceeds of the
10 D&O Policy to obtain reimbursement for the expenses he incurred or will incur on account of his Claims
11 filed with the Insurer in the amount of $500,000, in the aggregate, on an interim basis, without prejudice
12 to seek further amounts. For purposes of this Stipulation, and without prejudice to Mr. Felton’s rights,

13 Claims refer solely to the investigation and any proceedings initiated by the SEC and the claims asserted
14 on behalf of the Debtors. Mr. Felton reserves his right to expand his permitted use of proceeds and/or
15 right to indemnification to other Claims by first, proposing a stipulation and proposed order to counsel
16 for the Trust and Debtors via email. If counsel for the Trust or Debtors does not provide an agreement
17 or comments to the proposed stipulation within four (4) business days after the initial request is made,
18 Mr. Felton may file a “Notice of Request to Seek D&O Reimbursement” (the “Notice of D&O

19 Request”) with the Bankruptcy Court (to the extent the Bankruptcy Cases are still pending). Parties in
20 interest will have five (5) business days to file a response to the Notice of D&O Request. If a response is
21 not timely filed, Mr. Felton may file a Notice of Non-Opposition to the Notice of D&O Request and
22 have the Bankruptcy Court enter a further order, expanding the use of proceeds to other Claims. If a
23 response is filed, the Court shall set a hearing on the Notice of D&O Request within fourteen (14)
24 calendar days.

25           3.       Reservation of Rights. Mr. Felton, the Debtors, and the Trust reserve any and all of their

26 respective rights under the Bankruptcy Code and otherwise applicable nonbankruptcy law. Further, the
27   3
    Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them in the
28 Stipulation.
                                                      2
    ORDER ON STIPULATION RELATING TO DIRECTORS & OFFICERS INSURANCE POLICIES
     DAL 80767362v1
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 1 Trust is not being requested to respond to and is not taking a position herein as to its obligations, if any,
 2 under any indemnity agreement as between Mr. Felton and the Trust or Debtors.
 3           4.       Effective Date. The Stipulation is effective immediately upon entry of this order
 4 approving the Stipulation.
 5           5.       Dismissal or Final Decree. Upon the dismissal of the Bankruptcy Cases or entry of a final
 6 decree, Mr. Felton shall no longer be required to obtain authorization to use the proceeds of the D&O

 7 Policy to obtain reimbursement for expenses and fees on account of Claims covered under the D&O
 8 Policy.
 9           6.       Amendments/Interpretation. The Stipulation may only be amended in a writing signed by
10 each of the parties to this Stipulation. All parties to the Stipulation shall be deemed to have participated
11 in drafting this Stipulation and it shall not be construed against any of them on account of any such
12 deemed authorship.

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           Date: July 31, 2018
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      ORDER ON STIPULATION RELATING TO DIRECTORS & OFFICERS INSURANCE POLICIES
     DAL 80767362v1
